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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


   UNITED STATES OF AMERICA                           15-CR-382

                                                      MEMORANDUM & ORDER
                   – against –


   TYRAN TROTTER,

                          Defendant.

  JACK B. WEINSTEIN, Senior United States District Judge


         Parties                                           Appearances


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       I.         Introduction

              This case raises serious issues about sentencing generally, and supervised release for

  marijuana users specifically: Are we imposing longer terms than are needed for effective

  supervised release? Should we stop punishing supervisees for a marijuana addiction or habit?

              After revisiting and reconsidering these issues, I conclude: (1) I, like other trial judges,

  have in many cases imposed longer periods of supervised release than needed, and I, like other

  trial judges, have failed to terminate supervised release early in many cases where continuing

  supervision presents such a burden as to reduce the probability of rehabilitation; and (2) I, like

  other trial judges, have provided unnecessary conditions of supervised release and unjustifiably

  punished supervisees for their marijuana addiction, even though marijuana is widely used in the

  community and is an almost unbreakable addiction or habit for some. As a result of these errors

  in our sentencing practice, money and the time of our probation officers are wasted, and

  supervisees are unnecessarily burdened.

              In summary, in this and my future cases I will: (1) impose shorter terms of supervised

  release as needed; (2) give greater consideration to the appropriateness of conditions; (3) provide

  for earlier termination where indicated; and (4) avoid violations of supervised release and

  punishment by incarceration merely for habitual marijuana use.




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                A. Supervised Release

         The purpose of federal supervised release is to assist people who have served prison

  terms with rehabilitation and reintegration into the law-abiding community. The United States

  Probation Department (“Probation Department”) monitors individuals on supervised release and

  can help a supervisee with his or her reintegration into lawful society by providing drug

  treatment, mental health counseling, vocational training, and many other services to help reduce

  recidivism.

         Violating a condition of supervised release can lead to—and in instances must lead to—

  additional incarceration. This situation can trap some defendants, particularly substances

  abusers, in a cycle where they oscillate between supervised release and prison.

         [This is] the sinister side of probation the place where the promise of redemption is
         subverted by a lurking punitiveness. . . . Sanctions imposed for probation violations
         . . . frequently lead to disproportionate sentences, with probation merely becoming
         a staging area for eventual imprisonment.

  Nora V. Demleitner, How to Change the Philosophy and Practice of Probation and Supervised

  Release: Data Analytics, Cost Control, Focus on Reentry, and a Clear Mission, 28 Fed. Sent’g

  Rep. 231, 232 (2016) (internal quotation marks omitted).

         Connections with family and community organizations—religious or secular—are an aid

  to, and indication of, rehabilitation and reentry into normal, lawful life. See generally Mark T.

  Berg & Beth M. Huebner, Reentry and the Ties That Bind: An Examination of Social Ties,

  Employment, and Recidivism, 28 Just. Q. 382 (2011). Every time a connection is broken with

  the world outside of prison, by unnecessary incarceration following violations of supervised

  release, it probably becomes more difficult to reconnect. The court must consider such factors in

  finding violations during supervised release. Cf. Reentry Program – Recidivism Reduction,




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  Aleph Institute (June 25, 2018), https://aleph-institute.org/wp/programs/reentry-services/

  (offering reentry programs and community connections to reduce recidivism).

            The Probation Department in this court merits high praise for its work. Our probation

  officers do a difficult job well; often they have a helpful impact on criminal defendants’ lives.

  Recognizing the possibility of over-supervision, our Probation Department has now taken

  measures to reduce supervision burdens by (1) tapering off supervision over time; (2) creating a

  “low intensity” supervision program; and (3) recommending early termination when warranted.

            The resources of the Probation Department are limited. Cf. U.S. Courts, Probation

  Offices Look to Technology to Offset Budget, Staffing Reductions (Apr. 18, 2012) (discussing

  innovative measures taken by the Probation Department to offset budgetary concerns). The

  Probation Department should be focused on assisting those defendants with the potential for

  success, not on those doomed to fail.

            The significance of terms and conditions of supervised release is often ignored when

  sentencing. See generally Christine S. Scott-Hayward, Shadow Sentencing: The Imposition of

  Federal Supervised Release, 18 Berkeley J. Crim. L. 180, 190 (2013). At the sentencing hearing,

  the term of supervised release is seldom discussed; defense counsel, Assistant United States

  Attorneys, and the court assume it will be imposed for a significant period (usually three or five

  years). The sentencing hearing centers on the incarceration term. Going forward, more careful

  attention should be given to the potential of supervised release, and its duration, to help—or to

  prevent—rehabilitation. Proposals of the American Law Institute to improve all aspects of

  sentencing are excellent, but generally beyond the powers of a trial judge to implement. See

  American Law Institute, Model Penal Code: Sentencing (Proposed Final Draft), § 6.09, at 197

  (2017).



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             B. Marijuana and Supervised Release

         Without addressing the advantages and dangers of the change in criminal laws on

  smoking marijuana, it is obvious that marijuana use, through law, policy, and social custom, is

  becoming increasingly accepted by society. Many people from all walks of life now use

  marijuana without fear of adverse legal consequences. In New York, where marijuana policy is

  evolving in favor of decriminalization, serious racial and social-class disparities exist in the

  enforcement of anti-marijuana laws. See, e.g., Benjamin Mueller, Robert Gebeloff, & Sahil

  Chinoy, Surest Way to Face Marijuana Charges in New York: Be Black or Hispanic, N.Y.

  Times, May 13, 2018, at A1 (reporting that African Americans are arrested at eight times the rate

  of White people in New York City despite equal marijuana usage rates).

         Yet, marijuana remains illegal for all purposes under federal law. See Silvia Irimescu,

  Marijuana Legalization: How Government Stagnation Hinders Legal Evolution and Harms A

  Nation, 50 Gonz. L. Rev. 241, 249 (2015); but cf. Sadie Gurman & Natalie Andrews, Jeff

  Sessions Struggles to Get Planned Marijuana Crackdown Going, Wall St. J., June 10, 2018

  (discussion of a “bipartisan bill” which would prevent the federal government from interfering

  with state laws legalizing marijuana). Marijuana use violates a mandatory condition of federal

  supervised release and can require mandatory incarceration for some supervisees. See infra

  Section III(B)-(E)

         Effectively, courts are faced with a choice: imprison a marijuana user on supervised

  release or cut short supervision, forcing an attempt at further rehabilitation on the supervisee’s

  own. Many men and women who have terms of incarceration imposed by this court are seeking

  to live productive, law-abiding lives, but are derailed by their marijuana addiction.




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         Like many federal trial judges, I have been terminating supervision for “violations” by

  individuals with long-term marijuana habits who are otherwise rehabilitated. No useful purpose

  is served through the continuation of supervised release for many defendants whose only illegal

  conduct is following the now largely socially acceptable habit of marijuana use. The cost to tax-

  payers of long, repeating sentences and extended, unnecessary supervised release is substantial.

             C. Defendant Tyran Trotter

         Tyran Trotter, like many of his peers who fall into crime, comes from a broken home. He

  never knew his father. His mother struggles with drug addiction. His brother was apparently

  murdered. At fourteen he was placed in foster care. By sixteen he had half-a-dozen arrests on

  his record. He was convicted of a federal drug distribution charge and sentenced to two years

  imprisonment before he could legally drink alcohol. Now twenty-two years old, Trotter is on

  federal supervised release trying to lead a productive life, with a chronic problem holding him

  back: marijuana addiction.

          Trotter began smoking marijuana when he was twelve years old. After serving his

  prison term, he has stayed out of trouble. Rehabilitation and reintegration into society are the

  most important roles the criminal justice system ought to play in his life. But, he should be

  returned to prison under prior practice because his marijuana use conflicts with federal law and

  the conditions of his supervision.

         Supervised release is now being terminated by this court for Tyran Trotter. Its

  continuation would inhibit rehabilitation. He must attempt to lead a productive life on his own.

  As he himself put the matter:

         There’s not a day that I don’t wake up that I don’t think about how I was one of the
         big shots and I had a lot of money and I was doing my thing and breaking the rules.
         It’s hard coming home today and seeing my mother struggle. I’m trying to leave
         New York. I want a job for me. . . . [w]hether Probation was here or not.

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  May 31, 2018 Hr’g Tr. 9:4-13 (“Hr’g Tr.”).

     II.      Facts

              A. Background

           Trotter was born in 1996 in Queens, New York. Presentence Investigative Report

  (“PSR”) at ¶ 69. For the first fourteen years of his life he lived with his mother, but when she

  lost her job and family home in 2010 because of her addiction, Trotter and his brothers were

  placed in foster care. Id. at ¶ 71. After several months in foster care, he moved into a group

  home where he lived for two years. Id.

           Trotter abandoned school before completing the seventh grade. Id. at ¶ 83. But he has a

  good mind. While incarcerated in 2013, he earned his General Educational Development

  diploma. Id. at ¶ 82.

           Before his arrest for the offense leading to the present conviction, he did not have a stable

  place to live: he resided—on a “catch as a catch can”—with friends, family members, and his

  former girlfriend. Id.

              B. Underlying Charge

           On July 14, 2016, Trotter pled guilty to one count of conspiracy to distribute heroin. See

  21 U.S.C. §§ 846 and 841(b)(1)(C); Plea Hr’g Tr., ECF No. 260, July 14, 2016.

           He participated in a street gang called “Paper Chasing Goons” that acted as a drug

  trafficking organization (“DTO”). PSR at ¶ 2. The DTO had access to narcotics and firearms,

  and distributed heroin to a network of drug traffickers who sold it to users. Id. at ¶¶ 2-3.

           Between November 2014 and July 2015, Trotter conspired to distribute at least 400

  grams of heroin. There is no evidence that he possessed or used a firearm. Id. at ¶¶ 8-9.




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             C. Sentence

         Trotter was sentenced to two years imprisonment. See Oct. 7 Sent. Hr’g Tr. No fine was

  imposed in light of his inability to pay one. See id.; PSR at ¶ 87.

         A three year term of supervised release was imposed. See Oct. 7 Sent. Hr’g Tr. It was

  the mandatory minimum. See 21 U.S.C. § 841(b)(1)(C) (“[A]ny sentence imposing a term of

  imprisonment under this paragraph shall . . . impose a term of supervised release of at least 3

  years.”). The maximum term is lifetime supervision. See United States v. Breton, 672 F. App’x

  108, 109 n.3 (2d Cir. 2016).

             D. Violation Charge

         The United States Probation Department reported that Trotter had violated the terms of

  supervised release by using marijuana and failing to comply with its drug treatment orders. See

  Violation of Supervised Release Report, ECF No. 505, Dec. 14, 2017. An additional four

  months incarceration was recommended by the Probation Department to be followed by an

  additional two years of supervised release. Id. at 11-12.

         Trotter pled not guilty to the violation charges. See Minute Entry for Initial Appearance,

  ECF No. 512, Jan. 30, 2018. Preliminary hearings were held on February 7, 2018 and May 31,

  2018. See Minute Entry for Preliminary Hearing, ECF No. 520; Hr’g Tr. No ruling on the issue

  of use was made.

             E. Marijuana Legalization

         Under federal law, marijuana is a schedule I drug, meaning it has potential for abuse and

  has no accepted medical purpose. See Silvia Irimescu, Marijuana Legalization: How

  Government Stagnation Hinders Legal Evolution and Harms A Nation, 50 Gonz. L. Rev. 241,




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  249 (2015). Possession, use, and cultivation of marijuana has been outlawed by Congress

  pursuant to its Commerce Clause power. See Gonzales v. Raich, 545 U.S. 1 (2005).

         As already noted, states are departing from the federal approach. In the majority of

  states—twenty-nine—marijuana may be used medicinally. See Melia Robinson, Jeremy Berke,

  & Skye Gould, This Map Shows Every State that has Legalized Marijuana, Business Insider,

  Apr. 20, 2018. In nine states and the District of Columbia, marijuana may be used

  recreationally. Id.

           The trend in public opinion is in favor of legalization by state law. A Pew Research

  Center study found that in 2018, 61% of Americans believe that marijuana use should be legal.

  Abigail Geiger, About Six-in-Ten Americans Support Marijuana Legalization, Pew Research

  Center, Jan. 5, 2018, http://www.pewresearch.org/fact-tank/2018/01/05/americans-support-

  marijuana-legalization. This is a sharp increase from previous years: in 1969 only 12% of

  Americans supported legalization; 32% were in favor of it in 2010. Id. Younger generations, so-

  called “Milennials” and “Gen Xers,” support legalizations at rates of 70% and 66%, respectively.

  Id.; Cf. German Lopez, Canada just legalized marijuana. That has big implications for US drug

  policy., Vox, June 20, 2018 (discussing Canadian marijuana legalization).

             F. New York State and City Marijuana Decriminalization

         States and municipalities have “decriminalized” marijuana use. German Lopez, The

  Spread of Marijuana Legalization Explained, Vox, Apr. 20, 2018. “Decriminalization” in this

  context has no standardized meaning—in some places, possession is no longer punished, but

  distribution is; in others, marijuana possession is punished with a small fine. Id.

         New York City’s decriminalization has been through systemic non-enforcement of

  marijuana laws. See Andrew Denney, DAs in NYC and Area Take Diverging Views on



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  Marijuana Decriminalization, N.Y.L.J., May 24, 2018. In 2014, the Brooklyn District Attorney

  stopped prosecuting low-level marijuana possession. Id. The Manhattan District Attorney’s

  Office has announced that in August of 2018 it will stop prosecuting low-level marijuana cases.

  Colby Hamilton, City Officials Announce Shifts in Marijuana Enforcement Policies, N.Y.L.J.,

  May 16, 2018.

         The Mayor of New York City has expressed the view that recreational marijuana

  legalization is inevitable in New York and he has asked the New York City Police Department

  (“NYPD”) to stop making marijuana arrests. Denney, supra. The NYPD’s Commissioner

  convened a working group to study marijuana enforcement, stating “[t]he NYPD has no interest

  in arresting New Yorkers for marijuana offenses when those arrests have no impact on public

  safety.” Id. The City announced on June 19, 2018 that it would issue criminal summonses for,

  rather than arresting, most individuals caught smoking marijuana in public. Jonathan Wolfe,

  Marijuana in New York: Here’s How the Laws Are Changing, N.Y. Times, June 20, 2018.

  Some, including people on parole or probation, will still be subject to arrest. Id.

         At the state level, the Governor of New York commissioned a report on recreational

  marijuana that recommended legalization. Jesse McKinley & Benjamin Mueller, New York

  Moves Toward Legal Marijuana With Health Dept. Consent, N.Y. Times, June 18, 2018, at A17.

  It is uncertain whether this report will lead to a change in state law. Id. New York State

  legalized marijuana for medicinal use in 2014. Id.

         Despite changes in public opinion, state law, and municipal policy, Probation Department

  policy requires officers to treat marijuana in the same way as other unlawful drugs. See Letter

  from Joe Gergits, Assistant General Counsel for the Administrative Office of the United States

  Courts to Jonathan Hurting, United States Probation (July 20, 2009) (“State laws that



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  decriminalize marijuana have no legal effect on how officers should interpret drug use or

  possession under Federal law. Even when States have legalized marijuana possession for

  compassionate medicinal use, the Federal prohibitions against possession and distribution remain

  in effect. . . . Nonetheless, I anticipate that evolving views on the medicinal use of marijuana and

  State decriminalization and legalization of the possession of small amounts will influence the

  exercise of Federal prosecutorial and judicial sentencing discretion.”).

             G. Racial Disparities in Marijuana Enforcement

         A leading commentator on “mass incarceration” in the United States explained the sharp

  racial and social disparities in enforcement of anti-marijuana laws:

         Adding to the temptation to avoid race is the fact that opportunities for challenging
         mass incarceration on race-neutral grounds have never been greater. . . . Some states
         have decriminalized marijuana, including Massachusetts, where 65 percent of state
         voters approved the message. . . . [I]mpressive changes in our nation’s drug laws
         and policies would be not only possible, but likely, without ever saying a word
         about race. . . . The prevailing caste system cannot be successfully dismantled with
         a purely race-neutral approach.

  Michelle Alexander, The New Jim Crow 226 (2010); see also United States v. Bannister, 786 F.

  Supp. 2d 617, 651-53 (E.D.N.Y. 2011) (discussing racial disparities in drug sentences).

        Nationwide, African Americans are 3.73 times more likely to be arrested for marijuana

  possession than White people, despite similar usage rates. See ACLU, The War on Marijuana

  17, 21 (June 2013). In the period between 2001 and 2010, the disparity increased. Id. at 20.

        In New York City, African Americans were eight times more likely than White people to

  be arrested for marijuana possession. Benjamin Mueller, Robert Gebeloff & Sahil Chinoy,

  Surest Way to Face Marijuana Charges in New York: Be Black or Hispanic, N.Y. Times, May

  13, 2018, at A1. There has been an attempt to explain this disparity by suggesting that more

  complaints are lodged in Black and Hispanic communities than in largely White areas. Id. But a


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  New York Times’ report found that “among neighborhoods where people called about marijuana

  at the same rate, the police almost always made arrests at a higher rate in the area with more

  black residents.” Id.

        In this court, the majority of supervisees who face a violation charge for marijuana use are

  African Americans. The arrest disparities in New York City may partially account for this

  imbalance.

        It is a mandatory condition of supervised release that a supervisee may not violate state or

  federal law. See infra Section III(C)(1). A supervisee arrested by the state for marijuana

  possession may thus face both the state charge and a parallel violation of the terms of supervised

  release charge in the federal court. Since an African American is eight times more likely to be

  arrested for marijuana use, his or her chance of a supervised release violation for marijuana is

  much greater than a White person’s.

     III.      Law

               A. Supervised Release: Origin and Purpose

                   1. Origin of Federal Supervised Release

            The Sentencing Reform Act of 1984 (the “Act” or “SRA”) sought to introduce uniformity

  and consistency in federal sentencing. See generally Kate Stith, The Arc of the Pendulum:

  Judges, Prosecutors, and the Exercise of Discretion, 117 Yale L.J. 1420 (2008). It created the

  United States Sentencing Commission and Federal Sentencing Guidelines. Id. at 1427-34. It

  abolished federal parole and created supervised release. Christine S. Scott-Hayward, Shadow

  Sentencing: The Imposition of Federal Supervised Release, 18 Berkeley J. Crim. L. 180, 190

  (2013).




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         The switch to supervised release was made in part as a response to criticism that the

  parole system enhanced the indeterminate sentencing structure—creating a lack of uniformity,

  transparency, and predictability in the criminal justice system. Id.; Fiona Doherty, Indeterminate

  Sentencing Returns: The Invention of Supervised Release, 88 N.Y.U. L. Rev. 958, 992 (2013).

  “A growing consensus emerged that a system premised on coercive rehabilitation was fatally

  flawed—and that parole worked against minorities and the poor.” Id. at 991. Some believed that

  judges imposed higher sentences so “that the earliest parole date would coincide with the

  sentence length the judge believed the defendant deserved.” Mica Moore, Escaping from

  Release: Is Supervised Release Custodial under 18 USC § 751(a)?, 83 U. Chi. L. Rev. 2257,

  2260-61 (2016).

         Parole cut short an individual’s prison sentence by a parole board’s exercise of its

  discretion; supervised release is ordered at sentencing by a judge for a defined term. Supervised

  release is designed to assist with rehabilitation, not to punish:

         Only deterrence and treatment were originally specified as purposes for courts to
         consider when imposing supervised release. Supervised release was not intended to
         be imposed for the purposes of punishment or incapacitation, since those purposes
         will have been served to the extent necessary by the term of imprisonment. For this
         reason, Congress initially declined to provide for the possibility of revocation,
         stating that “it does not believe that a minor violation of a condition of supervised
         release should result in resentencing of the defendant. Instead, compliance with the
         conditions of supervised release would be enforced through the use of contempt
         proceedings, but only after repeated or serious violations of the conditions of
         supervised release. If an individual committed a new crime, then new charges
         should be filed.

         However, as a result of changes in the political climate, and skepticism from
         probation officers and prosecutors, that approach soon changed. Before the SRA
         even took effect, Congress passed the Anti-Drug Abuse Act of 1986. This Act
         provided for mandatory terms of supervised release for certain drug offenses, and
         amended the supervised release statute, establishing revocation and
         reimprisonment for violations of supervised release conditions.

  Scott-Hayward, supra, at 191-92 (internal quotation marks removed).

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         In most cases, supervised release was not designed by Congress to be mandatory. Id.

  Courts consider the factors set forth in 18 U.S.C. § 3553(a) to determine which defendants would

  benefit from the rehabilitative purpose of supervised release. Id. at 192-93.

                 2. Rehabilitative Purpose of Supervised Release

         The Supreme Court has recognized that “supervised release fulfills rehabilitative ends,

  distinct from those served by incarceration.” United States v. Johnson, 529 U.S. 53, 59 (2000)

  (emphasis added). “Supervised release, in contrast to probation, is not a punishment in lieu of

  incarceration.” United States v. Granderson, 511 U.S. 39, 50 (1994) (emphasis added).

         Supervised release is not an alternative to incarceration, but a separate and
         additional period of monitoring concerned with facilitating the reintegration of the
         defendant into the community . . . supervised release must follow imprisonment; it
         cannot be imposed on its own. These differences reflect the rehabilitative character
         of release by fully disaggregating the punitive and transitional phases of a
         defendant’s sentence.

  Moore, supra, at 2263 (emphasis added).

         A congressional statement of policy accompanying the SRA succinctly stated the

  rehabilitative purpose of supervised release:

         [T]he primary goal of [Supervised Release] is to ease the defendant’s transition
         into the community after the service of a long prison term for a particularly
         serious offense, or to provide rehabilitation to a defendant who has spent a fairly
         short period in prison for punishment or other purposes but still needs supervision
         and training programs after release.

  S. Rep. No. 98-225, at 124 (1983), as reprinted in 1984 U.S.C.C.A.N. 3182, 3307.

         Conditions of supervised release reflect its rehabilitative goal. For example, the court

  may require participation in substance abuse or mental health treatment, and the probation

  department can help a supervisee find a job. Doherty, supra, at 1012-13. Courts must consider

  “provid[ing] the defendant with needed education or vocational training, medical care, or other

  correctional treatment.” 18 U.S.C. § 3553(a)(2)(D).

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             B. Revocation of Supervised Release

         Although the idea of revocation as punishment for the supervisee’s failure to follow

  Probation’s instructions is foreign to the purpose of supervised release, it was included in the

  statute. Revocation was originally introduced by Senator Strom Thurmond, in 1985, and was

  adopted as a “technical” change contained within the Anti-Drug Abuse Act of 1986 (“ADAA”).

  Doherty, supra, at 1000.

         With this “technical amendment” and the revocation mechanism it created,
         Congress brought back conditional release. In enacting the ADAA, however, little
         consideration seems to have been given to the conceptual differences between
         supervised release and probation incorporated into the SRA. The adoption of the
         revocation mechanism did not even warrant a separate header to draw attention to
         the change. . . .

         For those accustomed to parole and probation, the absence of a revocation
         mechanism for supervised release seemed like an “impractical oddit[y].” Many
         actors in the system wondered how supervised release could be effective unless
         courts and probation officers were granted systematic leverage over offenders. And
         leverage had always meant prison.

         Procedurally, the ADAA grafted the revocation mechanism for probation onto
         supervised release, ignoring the different theoretical roots of those systems. Judges
         could now “revoke” a term of supervised release after finding, by a simple
         preponderance of the evidence, that the person had violated a condition of
         supervision. There was to be no trial and no jury; courts were to apply the same
         rules of diluted procedure applicable to parole and probation revocation hearings.

  Id. at 1001.

         The term “revoke” appears to be somewhat of a misnomer. Parole was based on early

  release from prison—by the grace of the parole board a person was conditionally released from

  prison, and the leniency could be “revoked.” Id. at 985. A person on supervised release has

  completed his or her prison term and is serving an independent term of supervision separately

  ordered by the court. Supervised release is not being “revoked”; rather, a supervisee is being




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  punished for violating conditions and for the individual or general deterrence of the punishment.

  A conceptual oddity exists:

         The supervised release statute continued to instruct judges not to consider the goals
         of punishment and incapacitation when deciding whether to impose—and now
         revoke—supervised release. And yet, the possibility of revocation made supervised
         release indisputably about punishment, oversight, and coercion. Judges and
         probation officers were to gauge how well released prisoners were adjusting with
         the threat of more prison hanging overhead. Despite the statutory bar on
         punishment, people on supervised release could now be sent back to prison for
         conduct that did not even violate a federal criminal statute.

  Id. at 1002.

         Notwithstanding its shaky theoretical underpinnings, revocation proceedings are central

  to federal supervised release. A violation proved by a mere preponderance, rather than beyond a

  reasonable doubt, can result in substantial time in prison. The statute provides:

         The Court may . . . revoke a term of supervised release, and require the defendant
         to serve in prison all or part of the term of supervised release authorized by statute
         for the offense that resulted in such term of supervised release without credit for
         time previously served on postrelease supervision, if the court, . . . finds by a
         preponderance of the evidence that the defendant violated a condition of supervised
         release. . . .

  18 U.S.C. § 3583(e)(3) (emphasis added).

         In addition to this general permissive revocation provision, a separate section provides

  that certain offenses require revocation and imprisonment:

         If the defendant—

         (1) possesses [marijuana or another] controlled substance in violation of the
         condition set forth in subsection (d);
         (2) possesses a firearm, as such term is defined in section 921 of this title, in
         violation of Federal law, or otherwise violates a condition of supervised release
         prohibiting the defendant from possessing a firearm;
         (3) refuses to comply with drug testing imposed as a condition of supervised
         release; or
         (4) as a part of drug testing, tests positive for illegal controlled substances more
         than 3 times over the course of 1 year;



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           the court shall revoke the term of supervised release and require the defendant to
           serve a term of imprisonment not to exceed the maximum term of imprisonment
           authorized under subsection (e)(3).

  18 U.S.C. § 3583(g) (emphasis added).

           Subdivision (d) of § 3583 emphasizes the supervisee’s obligation to refrain from using

  drugs:

           The court shall order, as an explicit condition of supervised release, that the
           defendant not commit another Federal, State, or local crime during the term of
           supervision, that the defendant make restitution in accordance with sections 3663
           and 3663A, or any other statute authorizing a sentence of restitution, and that the
           defendant not unlawfully possess a controlled substance. . . .

           The court shall also order, as an explicit condition of supervised release, that the
           defendant refrain from any unlawful use of a controlled substance and submit to a
           drug test within 15 days of release on supervised release and at least 2 periodic
           drug tests thereafter (as determined by the court) for use of a controlled substance.
           . . . The results of a drug test administered in accordance with the preceding
           subsection shall be subject to confirmation only if the results are positive, the
           defendant is subject to possible imprisonment for such failure, and either the
           defendant denies the accuracy of such test or there is some other reason to question
           the results of the test. A drug test confirmation shall be a urine drug test confirmed
           using gas chromatography/mass spectrometry techniques or such test as the
           Director of the Administrative Office of the United States Courts after consultation
           with the Secretary of Health and Human Services may determine to be of equivalent
           accuracy. The court shall consider whether the availability of appropriate substance
           abuse treatment programs, or an individual's current or past participation in such
           programs, warrants an exception in accordance with United States Sentencing
           Commission guidelines from the rule of section 3583(g) when considering any
           action against a defendant who fails a drug test.

  18 U.S.C. § 3583(d) (emphasis added).

           Nearly all violations are subject to permissive revocation. Drug use, however, requires a

  supervisee to be placed back in prison, using three separate mechanism: drug possession, testing

  positive for drugs, or refusing a drug test. Cf. Jan Hoffman, She Went to Jail for a Drug Relapse.

  Tough Love or Too Harsh?, N.Y. Times, June 4, 2018, at A1 (“Should an addict’s relapse be

  punished with a criminal sanction? Ms. Eldred has put that question before the Massachusetts



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  Supreme Judicial Court, in a case that may have widespread ripples, as hundreds of thousands of

  addicted people tumble into the criminal justice system. Remaining drug-free is an almost

  universal requirement of probation. Violating it can bring sanctions ranging from a warning to,

  frequently, jail.”).

          In the Eastern District of New York, 13.45% of revocations are related to drug use,

  despite the Probation Department’s best efforts to use sanctions short of incarceration for

  habitual drug users. See Letter of Eileen Kelly, Chief U.S. Probation Officer, ECF No. 540, June

  15, 2018 (“[I]t is important to note, that our revocation rate is significantly lower than our non-

  compliance rate. As you [,the sentencing judge in the instant case,] well know, officers and

  Judges exhaust other remedies, including treatment and intermediary sanctions long before an

  offender is violated and or revoked.”).

          District judges overwhelmingly believe that mandatory revocation for drug use is not

  desirable. The United States Sentencing Commission surveyed district judges in 2014 about

  supervised release. See United States Sentencing Commission, Results of 2014 Survey of United

  States District Judges Modification and Revocation of Probation and Supervised Release (2015).

  Judges were asked to state their position and responded as follows:




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  Id. at 12.

          Given judges’ antipathy towards mandatory revocation, it is not surprising that 59% of

  those surveyed believed that the United States Sentencing Commission should significantly

  revise the supervised release guidelines to provide more alternatives to incarceration for

  violations. Id. at 6. In near unanimity—94%—judges requested sentencing recommendations

  short of incarceration that could be imposed through modification of the conditions of

  supervision. Id. at 11.

               C. Conditions of Supervised Release

          Set out below is a brief survey of recommended conditions of supervised release that will

  be considered in giving greater attention to supervised release. As Judge Posner noted:

          Apart from a handful of conditions required by the Sentencing Reform Act itself,
          conditions of supervised release are discretionary. Some of the discretionary
          conditions are designated as “standard,” others are called “special conditions” of
          supervised release, and are recommended for particular offenses. . . .

           [T]here are serious problems with how some district judges are handling
          discretionary conditions of supervised release at sentencing. Two of the problems
          are relatively minor, and we mention them quickly to get them out of the way. One
          is the number—thirty [although now slightly reduced]—and the other the variety
          of the listed discretionary conditions. The sheer number may induce haste in the
          judge’s evaluation of the probation service’s recommendations and is doubtless a
          factor in the frequent failure of judges to apply the sentencing factors in section
          3553(a) to all the recommended conditions included in the sentence. . . . A more
          serious problem with the current system is that . . . a number of the listed conditions,
          along with a number of conditions that judges modify or invent, are vague.

  United States v. Siegel, 753 F.3d 705, 707-08 (7th Cir. 2014) (internal citations omitted).

                  1. Mandatory Conditions

          Six conditions are required in all cases. See 18 USC § 3583(d). Two additional

  mandatory conditions apply in certain categories of cases. They are outlined below:




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                                     Mandatory in All Cases

                          Condition                      Statute     Guideline
   1.   New Crime                                      18 USC §    § 5D1.3 (a)(1)
        The defendant shall not commit another           3583(d)
        federal, state or local offense
   2.   Drug Possession                                18 USC §    § 5D1.3 (a)(2)
        The defendant shall not unlawfully               3583(d)
        possess a controlled substance
   3.   Drug Use / Testing                             18 USC §    § 5D1.3 (a)(4)
        The defendant shall refrain from any             3583(d)
        unlawful use of a controlled substance and
        submit to one drug test within 15 days of
        release on probation and at least two
        periodic drug tests thereafter (as
        determined by the court) for use of a
        controlled substance
   4.   Fine                                           18 USC §    § 5D1.3 (a)(5)
        If a fine is imposed and had not been paid       3583(d)
        upon release to supervised release, the
        defendant shall adhere to an installment
        schedule to pay the fine
   5.   Restitution                                    18 USC §    § 5D1.3 (a)(6)
        The defendant shall make restitution in          3583(d)
        accordance with 18 USC §§ 2248, 2259,
        2264, 2327, 3663, 3664 and pay the
        assessment imposed in accordance with
        18 USC § 3013 If there is a court-
        established payment schedule for making
        restitution or paying the assessment (18
        USC § 3572(d)), the defendant shall
        adhere to the schedule
   6.   DNA Collection                                 18 USC §    § 5D1.3 (a)(8)
        The defendant shall submit to the                3583(d)
        collection of a DNA sample from the
        defendant at the direction of the United
        State Probation Office if the collection of
        such a sample is authorized pursuant to
        section 3 of the DNA Analysis Backlog
        Elimination Act of 2000 (42 USC §
        14135a)
                                     Mandatory in Specific Cases

   7.   Sex Offender Registration                     18 USC §     § 5D1.3 (a)(7)
        If the defendant is required to register       3583(d)
        under the Sex Offender Registration and

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         Notification Act, the defendant shall
         comply with the requirements of that Act
   8.    Domestic Violence Program                          18 USC §               § 5D1.3 (a)(3)
         The defendant who is convicted for a                3583(d)
         domestic violence crime as defined in 18
         U.S.C. § 3561(b) for the first time shall
         attend a public, private, or private non-
         profit offender rehabilitation program that
         has been approved by the court,

  See U.S. Sentencing Commission, Supervised Release, Appendix A, at 16-17 (April 2017).

                 2. Standard Conditions

         In addition to mandating conditions, the statue provides:

         The court may order, as a further condition of supervised release, to the extent that
         such condition—

             (1) is reasonably related to the factors set forth in section 3553(a)(1), (a)(2)(B),
             (a)(2)(C), and (a)(2)(D) [see infra Section III(D)(1)];
             (2) involves no greater deprivation of liberty than is reasonably necessary for
             the purposes set forth in section 3553(a)(2)(B), (a)(2)(C), and (a)(2)(D); and
             (3) is consistent with any pertinent policy statements issued by the Sentencing
             Commission pursuant to 28 U.S.C. 994(a);

         any condition set forth as a discretionary condition of probation in section 3563(b)
         [see infra] and any other condition it considers to be appropriate.

         The Sentencing Commission recommends thirteen conditions as “standard conditions” of

  supervised release. Labeling the conditions “standard” does not mean that they are required.

         All discretionary conditions of supervised release must . . . comply with overall
         federal sentencing policy as stated in 18 U.S.C. § 3553(a), especially subsection
         (a)(2), which requires the judge to consider “the need for the sentence imposed—
         (A) to reflect the seriousness of the offense, to promote respect for the law, and to
         provide just punishment for the offense; (B) to afford adequate deterrence to
         criminal conduct; (C) to protect the public from further crimes of the defendant;
         and (D) to provide the defendant with needed educational or vocational training,
         medical care, or other correctional treatment in the most effective manner.

  United States v. Siegel, 753 F.3d 705, 707 (7th Cir. 2014).




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          To the extent that the standard conditions are administrative, however, the Court of

  Appeals for the Second Circuit has stated that they are “essential to the functioning of the

  supervised release system[;] they are almost uniformly imposed by the district courts and have

  become boilerplate.” United States v. Truscello, 168 F.3d 61, 63 (2d Cir. 1999) (internal

  citations and quotation marks omitted). “Implicit in the very nature of supervised release is that

  certain conditions are necessary to effect its purpose.” Id. at 62. “[M]any of the standard

  conditions are so clearly necessary to supervised release, that the term ‘discretionary’ may be a

  misleading, if technically accurate, modifier for the standard conditions.” Id. at 63; but see

  Michael P. Kenstowicz, The Imposition of Discretionary Supervised Release Conditions:

  Nudging Judges to Follow the Law, 82 U. Chi. L. Rev. 1411, 1411-12 (2015) (“[J]udges are

  required by 18 USC § 3553(a) to independently weigh the imposition of discretionary conditions

  . . . sentencing judges regularly fail to fulfill this legal duty . . . [i]n particular, judges appear to

  frequently impose thirteen discretionary conditions recommended by the United States

  Sentencing Commission—called ‘standard conditions’—without considering whether they

  enhance public safety or rehabilitation in each case. This practice is troubling because Congress

  intended supervised release to be curative, not punitive.”).

          The following chart lists the standard conditions:

                                           Standard Conditions

                                 Condition                               Statutory          Sentencing
                                                                         Authority          Guidelines
   1.     Reporting after Prison                                         18 USC §          § 5D1.3 (c)(1)
          The defendant shall report to the probation office in         3563(b)(15)
          the federal judicial district where he or she is
          authorized to reside within 72 hours of release from
          imprisonment, unless the probation officer instructs
          the defendant to report to a different probation
          office or within a different time frame
   2.     Continued Reporting                                                              § 5D1.3 (c)(2)


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        After initially reporting to the probation office, the
        defendant will receive instructions from the court or
        the probation officer about how and when to report
        to the probation officer, and the defendant shall
        report to the probation officer as instructed
   3.   Travel                                                    18 USC §      § 5D1.3 (c)(3)
        The defendant shall not knowingly leave the federal      3563(b)(14)
        judicial district where he or she is authorized to
        reside without first getting permission from the
        court or the probation officer
   4.   Candor                                                    18 USC §      § 5D1.3 (c)(4)
        The defendant shall answer truthfully the questions      3563(b)(17)
        asked by the probation officer
   5.   Living Arrangements                                       18 USC §      § 5D1.3 (c)(5)
        The defendant shall live at a place approved by the      3563(b)(13)
        probation officer. If the defendant plans to change       & (b)(17)
        where he or she lives or anything about his or her
        living arrangements (such as the people the
        defendant lives with), the defendant shall notify the
        probation officer at least 10 days before the change.
        If notifying the probation officer at least 10 days in
        advance is not possible due to unanticipated
        circumstances, the defendant shall notify the
        probation officer within 72 hours of becoming
        aware of a change or expected change
   6.   Search                                                    18 USC §      § 5D1.3 (c)(6)
        The defendant shall allow the probation officer to       3563(b)(16)
        visit the defendant at any time at his or her home or
        elsewhere, and the defendant shall permit the
        probation officer to take any items prohibited by the
        conditions of the defendant's supervision that he or
        she observes in plain view
   7.   Employment                                                18 USC §      § 5D1.3 (c)(7)
        The defendant shall work full time (at least 30 hours    3563(b)(4) &
        per week) at a lawful type of employment, unless            (b)(17)
        the probation officer excuses the defendant from
        doing so. If the defendant does not have full-time
        employment he or she shall try to find full-time
        employment, unless the probation officer excuses
        the defendant from doing so. If the defendant plans
        to change where the defendant works or anything
        about his or her work (such as the position or the
        job responsibilities), the defendant shall notify the
        probation officer at least 10 days before the change.
        If notifying the probation officer in advance is not
        possible due to unanticipated circumstances, the

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         defendant shall notify the probation officer within
         72 hours of becoming aware of a change or
         expected change
   8.    Criminal Association                                   18 USC §      § 5D1.3 (c)(8)
         The defendant shall not communicate or interact        3563(b)(6)
         with someone the defendant knows is engaged in
         criminal activity. If the defendant knows someone
         has been convicted of a felony, the defendant shall
         not knowingly communicate or interact with that
         person without first getting the permission of the
         probation officer
   9.    Arrest Reporting                                       18 USC §      § 5D1.3 (c)(9)
         If the defendant is arrested or questioned by a law   3563(b)(18)
         enforcement officer, the defendant shall notify the
         probation officer within 72 hours
   10. Firearm                                                  18 USC §     § 5D1.3 (c)(10)
         The defendant shall not own, possess, or have          3563(b)(8)
         access to a firearm, ammunition, destructive device,
         or dangerous weapon
   11. Informant                                                             § 5D1.3 (c)(11)
         The defendant shall not act or make any agreement
         with a law enforcement agency to act as a
         confidential human source or informant without
         first getting the permission of the court
   12. Risk Notification                                                     § 5D1.3 (c)(12)
         If the probation officer determines that the
         defendant poses a risk to another person (including
         an organization), the probation officer may require
         the defendant to notify the person about the risk and
         the defendant shall comply with that instruction.
         The probation officer may contact the person and
         confirm that the defendant has notified the person
         about the risk
   13. Probations Directives                                                 § 5D1.3 (c)(13)
         The defendant shall follow the instructions of the
         probation officer related to the conditions of
         supervision
  See U.S. Sentencing Commission, Supervised Release, Appendix A, at 17-18 (April 2017).

                 3. Conditions for Specific Offense Types or Characteristics

         The Sentencing Commission recommends that certain conditions be implemented based

  on the specific type of offense or characteristics of the defendant.



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                                      Special Conditions
   Circumstance Condition                                   Statutory       Sentencing
                                                            Authority       Guidelines
   Dependents    If the defendant has one or more                        § 5D1.3 (d)(1)(A)
   and Child     dependents—a condition specifying
   Support       that the defendant shall support his or
                 her dependents
                 If the defendant is ordered by the                      § 5D1.3 (d)(1)(B)
                 government to make child support
                 payments or to make payments to
                 support a person caring for a child—a
                 condition specifying that the defendant
                 shall make the payments and comply
                 with the other terms of the order
   Debt          If an installment schedule of payment                    § 5D1.3 (d)(2)
   Obligations   of restitution or a fine is imposed — a
                 condition prohibiting the defendant
                 from incurring new credit charges or
                 opening additional lines of credit
                 without approval of the probation
                 officer unless the defendant is in
                 compliance with the payment schedule
   Access to     If the court imposes an order of                         § 5D1.3 (d)(3)
   Financial     restitution, forfeiture, or notice to
   Information   victims, or orders the defendant to pay
                 a fine—a condition requiring the
                 defendant to provide the probation
                 officer access to any requested
                 financial information
   Substance     If the court has reason to believe that    18 USC §      § 5D1.3 (d)(4)
   Abuse         the defendant is an abuser of narcotics,   3563(b)(9)
                 other controlled substances or
                 alcohol—(A) a condition requiring the
                 defendant to participate in a program
                 approved by the United States
                 Probation Office for substance abuse,
                 which program may include testing to
                 determine whether the defendant has
                 reverted to the use of drugs or alcohol;
                 and (B) a condition specifying that the
                 defendant shall not use or possess
                 alcohol
   Mental        If the court has reason to believe that    18 USC §      § 5D1.3 (d)(5)
   Health        the defendant is in need of                3563(b)(9)
                 psychological or psychiatric
                 treatment—a condition requiring that
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                  the defendant participate in a mental
                  health program approved by the United
                  States Probation Office
   Deportation    If (A) the defendant and the United             § 5D1.3 (d)(6)
                  States entered into a stipulation of
                  deportation pursuant to section
                  238(c)(5) of the Immigration and
                  Nationality Act (8 U.S.C. §
                  1228(c)(5)); or (B) in the absence of a
                  stipulation of deportation, if, after
                  notice and hearing pursuant to such
                  section, the Attorney General
                  demonstrates by clear and convincing
                  evidence that the alien is deportable —
                  a condition ordering deportation by a
                  United States district court or a United
                  States magistrate judge
   Sex Offenses   If the instant offense of conviction is a       § 5D1.3 (d)(7)
                  sex offense,
                            A condition requiring the           § 5D1.3 (d)(7)(A)
                            defendant to participate in a
                            program approved by the
                            United States Probation Office
                            for the treatment and
                            monitoring of sex offenders
                            A condition limiting the use of     § 5D1.3 (d)(7)(B)
                            a computer or an interactive
                            computer service in cases in
                            which the defendant used such
                            items
                            A condition requiring the           § 5D1.3 (d)(7)(C)
                            defendant to submit to a
                            search, at any time, with or
                            without a warrant, and by any
                            law enforcement or probation
                            officer, of the defendant's
                            person and any property,
                            house, residence, vehicle,
                            papers, computer, other
                            electronic communication or
                            data storage devices or media,
                            and effects upon reasonable
                            suspicion concerning a
                            violation of a condition of
                            supervised release or unlawful
                            conduct by the defendant, or

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                            by any probation officer in the
                            lawful discharge of the
                            officer’s supervision functions
   Unpaid         If the defendant has any unpaid amount                    § 5D1.3 (d)(8)
   Restitution,   of restitution, fines, or special
   Fines, or      assessments, the defendant shall notify
   Special        the probation officer of any material
   Assessments    change in the defendant's economic
                  circumstances that might affect the
                  defendant's ability to pay
   Additional     Community Confinement                        18 USC §     § 5D1.3 (e)(1)
   Conditions:    Residence in a community treatment          3563(b)(11)
   Case-by-Case   center, halfway house or similar
   Basis          facility may be imposed as a condition
                  of supervised release
                  Home Detention                                            § 5D1.3 (e)(2)
                  Home detention may be imposed as a
                  condition of supervised release, but
                  only as a substitute for imprisonment
                  Community Service                            18 USC §     § 5D1.3 (e)(3)
                  Community service may be imposed as         3563(b)(12)
                  a condition of supervised release
                  Occupational Restrictions                   18 USC §      § 5D1.3 (e)(4)
                  Occupational restrictions may be            3563(b)(5)
                  imposed as a condition of supervised
                  release see infra Section III(C)(3)
                  Curfew                                       18 USC §     § 5D1.3 (e)(5)
                  A condition imposing a curfew may be        3563(b)(19)
                  imposed if the court concludes that
                  restricting the defendant to his place of
                  residence during evening and nighttime
                  hours is necessary to protect the public
                  from crimes that the defendant might
                  commit during those hours, or to assist
                  in the rehabilitation of the defendant.
                  Electronic monitoring may be used as a
                  means of surveillance to ensure
                  compliance with a curfew order
                  Intermittent Confinement                                  § 5D1.3 (e)(6)
                  Intermittent confinement (custody for
                  intervals of time) may be ordered as a
                  condition of supervised release during
                  the first year of supervised release, but
                  only for a violation of a condition of
                  supervised release in accordance with


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                   18 U.S.C. § 3583(e)(2) and only when
                   facilities are available
  U.S. Sentencing Commission, Supervised Release, Appendix A, at 19-20 (April 2017).

                 4. Case Law on Conditions

         Courts may craft “special” conditions of supervised release as appropriate. Sentencing

  courts have “wide latitude” in doing so. United States v. Reeves, 591 F.3d 77, 80 (2d Cir. 2010).

  Below are some parameters set by the Court of Appeals for the Second Circuit; a review of other

  circuits has not been conducted.

         Conditions must not be overly vague. See, e.g., United States v. Green, 618 F.3d 120,

  124 (2d Cir. 2010) (holding that a condition prohibiting a defendant from “wearing [] colors,

  insignia, or obtaining tattoos or burn marks (including branding and scars) relative to [criminal

  street] gangs,’” was “impermissibly vague”); 18 U.S.C. § 3583(f) (“The court shall direct that the

  probation officer provide the defendant with a written statement that sets forth all the conditions

  to which the term of supervised release is subject, and that is sufficiently clear and specific to

  serve as a guide for the defendant’s conduct and for such supervision as is required.”).

         The United States Constitution constrains a sentencing court’s discretion. See, e.g.,

  United States v. Myers, 426 F.3d 117, 126 (2d Cir. 2005) (“[W]hen a fundamental liberty interest

  is implicated by a sentencing condition, we must first consider the sentencing goal to which the

  condition relates . . .[w]e must then consider whether it represents a greater deprivation of liberty

  than is necessary to achieve that goal.”); United States v. Lifshitz, 369 F.3d 173, 190 (2d Cir.

  2004) (evaluating a search condition under the Fourth Amendment “special needs” doctrine);

  United States v. Hernandez, 209 F. Supp. 3d 542 (E.D.N.Y. 2016) (holding that a condition

  prohibiting a person convicted of possessing child pornography from attending a church service

  was unconstitutional as applied under the First Amendment).


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         Restrictions on internet use must be narrowly tailored. See, e.g., United States v. Sofsky,

  287 F.3d 122, 126 (2d Cir. 2002) (“Although the condition prohibiting Sofsky from accessing a

  computer or the Internet without his probation officer’s approval is reasonably related to the

  purposes of his sentencing, in light of the nature of his offense, we hold that the condition inflicts

  a greater deprivation on Sofsky’s liberty than is reasonably necessary.”); cf. United States v.

  Bello, 310 F.3d 56 (2d Cir. 2002) (finding that a bar on watching television during probation was

  impermissible).

         Limits have been placed on conditions of supervised release that may inhibit a

  defendant’s employment prospects. See United States v. Doe, 79 F.3d 1309, 1319 (2d Cir. 1996)

  (“[W]e carefully scrutinize unusual and severe conditions, such as one requiring the defendant to

  give up a lawful livelihood.”) (internal quotation marks omitted). The Sentencing Guidelines

  suggest “(1) a reasonably direct relationship existed between the defendant’s occupation . . . and

  the conduct relevant to the offense of conviction; and (2) imposition of such a restriction is

  reasonably necessary to protect the public because there is reason to believe that, absent such

  restriction, the defendant will continue to engage in unlawful conduct similar to that for which

  the defendant was convicted.” U.S.S.G. 5F1.5; United States v. Lombardi, No. 17-356-CR, 2018

  WL 1415138, at *2 -- Fed.Appx.-- (2d Cir. Mar. 22, 2018) (applying the guidelines).

         Given the rehabilitative purpose of supervised release and the strong relationship between

  gainful employment and recidivism, conditions that may affect employment prospects can be

  particularly troubling. Cf. Mark T. Berg & Beth M. Huebner, Reentry and the Ties That Bind:

  An Examination of Social Ties, Employment, and Recidivism, 28 Just. Q. 382 (2011); United

  States v. Jenkins, 854 F.3d 181, 195 (2d Cir. 2017) (vacating condition of supervised release




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  where “the nature of these employment restrictions mean that, as a practical matter, [the

  defendant] may never be employable”).

                     5. Modification of Conditions

          Conditions of Supervised Release are imposed at the sentencing hearing. A court may,

  however, “modify, reduce, or enlarge the conditions of supervised release, at any time prior to

  the expiration or termination of the term of supervised release . . . .” 18 U.S.C. § 3583(e)(2).

  Prior to modification, the court must consider the factors listed in 18 U.S.C. § 3553(a) and hold a

  hearing. See id.; infra Section III(D); Fed. R. Crim. P. 32.1.

                  D. Early Termination of Supervised Release

                     1. Standard for Early Termination

          Supervised release may be terminated early. “The court may . . . terminate a term of

  supervised release and discharge the defendant released at any time after the expiration of one

  year of supervised release . . . if it is satisfied that such action is [1] warranted by the conduct of

  the defendant released and [2] the interest of justice.” 18 U.S.C. § 3583(e)(1). The court must

  consider several factors in deciding on early termination:

          (i)        “the nature and circumstances of the offense and the history and
                     characteristics of the defendant,” 18 U.S.C. § 3553(a)(1);

          (ii)       the need for the sentence imposed “to afford adequate deterrence to criminal
                     conduct,” id. § 3553(a)(2)(B), “to protect the public from further crimes of
                     the defendant,” id. § 3553(a)(2)(C), and “to provide the defendant with
                     needed educational or vocational training, medical care, or other
                     correctional treatment in the most effective manner,” id. § 3553(a)(2)(D);

          (iii)      the “kinds of sentence and the sentencing range established for the
                     applicable category of offense [or violation of probation or supervised
                     release] committed by the applicable category of defendant” under the
                     Sentencing Guidelines, id. § 3553(a)(4);

          (iv)       “any pertinent policy statement issued by the Sentencing Commission,” id.
                     § 3553(a)(5); and

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          (v)     “the need to avoid unwarranted sentence disparities among defendants with
                  similar records who have been found guilty of similar conduct....” Id. §
                  3553(a)(6).

  United States v. Lussier, 104 F.3d 32, 35 (2d Cir. 1997). “The decision whether to grant early

  termination rests within the discretion of the district court.” United States v. Harris, 689 F.

  Supp. 2d 692, 694 (S.D.N.Y. 2010); United States v. Sheckley, 129 F.3d 114 (2d Cir. 1997)

  (“We have explained that the determination of early release is a discretionary decision made by

  the district court.”).

          The Court of Appeals for the Second Circuit explained:

          Section 3583(e) provides the district court with retained authority to revoke,
          discharge, or modify terms and conditions of supervised release following its initial
          imposition of a supervised release term in order to account for new or unforeseen
          circumstances. Occasionally, changed circumstances—for instance, exceptionally
          good behavior by the defendant or a downward turn in the defendant’s ability to
          pay a fine or restitution imposed as conditions of release—will render a previously
          imposed term or condition of release either too harsh or inappropriately tailored to
          serve the general punishment goals of section 3553(a).

  United States v. Lussier, 104 F.3d 32, 36 (2d Cir. 1997). The appellate court’s examples of

  grounds that may warrant early termination—“changed circumstances” and “exceptionally good

  behavior”—are not a limit on a district court’s statutorily granted authority to terminate “if it is

  satisfied that such action is [1] warranted by the conduct of the defendant released and [2] the

  interest of justice.” 18 U.S.C. § 3583(e)(1).

          The Court of Appeals for the Second Circuit has declared that Lussier cannot be read to

  mandate additional requirements for termination or modification:

          [Defendant] relies primarily on our decision in United States v. Lussier, 104 F.3d
          32 (2d Cir. 1997), where we noted that a district court may modify conditions of
          supervised release “in order to account for new or unforeseen circumstances.” Id.
          at 36. He contends that Lussier suggests that a modification of supervised release
          conditions cannot take place without some action by the defendant or a new
          circumstance in the defendant’s life that arises after the original sentence was

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          imposed. However, this reasoning is contrary to the plain language of Lussier,
          which does not require new or changed circumstances relating to the defendant in
          order to modify conditions of release, but simply recognizes that changed
          circumstances may in some instances justify a modification. See id. So long as the
          court, when modifying supervised release conditions, considers the relevant 18
          U.S.C. § 3553(a) sentencing factors, there is no additional requirement that it make
          a finding of new or changed circumstances with respect to the defendant.

  United States v. Parisi, 821 F.3d 343, 347 (2d Cir. 2016) (emphasis in original).

                  2. Termination of Mandatory Minimum Periods

          A district court may terminate supervised release before the expiration of a mandatory

  minimum period. As the Court of Appeals for the Seventh Circuit explained in Pope v. Perdue,

  889 F.3d 410, 414 (7th Cir. 2018), 18 U.S.C. § 3583(a) requires a court to impose a minimum

  term of supervised release when it is required by another statute. For example, 21 U.S.C. §

  841(b)(1)(C), at issue in the instant case, requires a three-year minimum term of supervised

  release for certain drug offenses. The “impos[tion] of a sentence,” however, is distinct from

  modification or termination of a sentence, provided for in 18 U.S.C. § 3583(e)(1). Id. The Pope

  court concluded that Congress did not intend for “a minimum term of supervised release [ ] to

  constrain the court’s ability to later terminate it.” Id.

          All courts, as far as this court is aware, agree with this position that early termination

  power exists even when a mandatory minimum was required. See United States v. Spinelle, 41

  F.3d 1056, 1060 (6th Cir. 1994) (“[W]e hold that a district court has discretionary authority to

  terminate a term of supervised release after the completion of one year, pursuant to 18 U.S.C. §

  3583(e)(1), even if the defendant was sentenced to a mandatory term of supervised release under

  21 U.S.C. § 841(b)(1)(C) and 18 U.S.C. § 3583(a).”); United States v. McClister, No. 02-CR-87,

  2008 WL 153771 (D. Utah Jan. 14, 2008) (same); United States v. Macklin, No. 95-CR-11, 2009

  WL 2486336 (E.D. Mo. Aug. 11, 2009) (same); U.S. Sentencing Commission, Federal Offenders


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  Sentenced to Supervised Release, at 35 (July 2010) (“[E]arly terminations may occur even in

  cases where a statute originally required the sentencing court to impose a term of supervised

  release in excess of one year.”).

              E. Supervised Release in the Age of Marijuana Legalization and Widespread Use

          As state and federal law diverges, courts have grappled with supervisees who use

  marijuana. One option is to continue to place supervisees in federal prison for marijuana use. In

  United States v. Hicks, 722 F. Supp. 2d 829 (E.D. Mich. 2010), for example, the court found that

  the defendant’s possession of marijuana, even if legal for medical purposes under state law,

  violated the conditions of his supervised release. The court explained: (1) marijuana remains

  illegal under federal law, and (2) “a court may restrict the otherwise legal behavior of a

  defendant on supervised release,” such as alcohol use. Id. at 834-35.

          Other courts have followed this path while expressing concern about the effect of

  punishing habitual marijuana users. See, e.g., United States v. Guess, 216 F. Supp. 3d 689 (E.D.

  Va. 2016) (expressing concern about unequal enforcement of marijuana law and attendant

  sentencing disparities and sentencing a defendant to eight months incarceration for his marijuana

  use); United States v. Friel, 699 F. Supp. 2d 328, 330 (D. Me. 2010) (“[E]ven if marijuana could

  now legally be used for medicinal purposes, I would not permit Friel to use it in light of the drug

  trafficking risk he poses. It is not uncommon for people on supervised release to be restricted

  from activities that are legal for the rest of the population.”).

          Reviewing a district court’s imposition of a term of incarceration for marijuana use,

  Judge Posner, writing for the Court of Appeals for the Seventh Circuit, explained the

  fundamental position that the power to imprison supervisees for marijuana use and the

  appropriateness of such punishment are distinct issues:


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         The defendant’s problem is marijuana . . . we have our doubts that imprisonment is
         an appropriate treatment for a marijuana habit. . . . The 29 months that he served
         in prison beginning in 2009 did not break him of his habit; what is the basis for
         thinking that 14 more months in prison will? Maybe with a job and a family and
         greater maturity he’ll outgrow it, or reduce his consumption to a level at which it
         has no significant behavior or psychological ill effects. The fact that he’s impressed
         his employers suggests that he can function even with the habit, in which event it
         might have been better had the judge not imposed a prison sentence but instead had
         ordered a stricter regimen of treatment for the defendant’s drug habit. . . .

         The defendant disobeyed the terms of his supervised release repeatedly, but his
         current profile is not that of a dangerous criminal, and the utility of his continued
         imprisonment is difficult to see.

  United States v. Smith, 770 F.3d 653, 656-57 (7th Cir. 2014).

         Two recent district court opinions typify a reasonable approach to post-release

  supervision for marijuana users. In United States v. Parker, 219 F. Supp. 3d 183 (D.D.C. 2016)

  the court terminated supervision for a person using marijuana for medical reasons, while

  recognizing that marijuana use—even if permissible under state law—remains illegal as a matter

  of federal law. Id. at 188-89. But, because the defendant was serving a mandatory term of ten

  years of supervised release, a minimum no longer in effect, and had been otherwise compliant,

  the court terminated his supervision. Id. at 189-91; see also United States v. Johnson, 228 F.

  Supp. 3d 57, 62-64 (D.D.C. 2017) (terminating supervision for a defendant who had taken

  “affirmative steps to become a well-integrated member of the community” and used marijuana

  for medicinal purposes).

         Because of the statutory requirement forcing courts to imprison many habitual marijuana

  users on supervised release, see supra Section III(B), courts may be faced with a binary choice:

  send marijuana users to jail or terminate supervision.




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             F. Critiques of Supervised Release

                 1.      Overuse of Supervised Release

         Supervised release is required by statute in less than half of all federal cases, but imposed

  as a part of nearly every sentence. Scott-Hayward, supra, at 192. Between 2005 and 2009

  courts imposed supervised release in 95% of cases. U.S. Sentencing Commission, Federal

  Offenders Sentenced to Supervised Release, at 55 (July 2010). Judges in the Eastern District of

  New York are in line with the federal average, imposing supervised release in 94% of cases.

  Scott-Hayward, supra at 207.

         The criminal justice ecosystem largely ignores supervised release.

         Off the record conversations with a number of federal defenders (from both the
         Eastern and Southern Districts of New York) revealed that the perceived mandatory
         nature of supervised release is so entrenched that they do not even bother to fight
         its imposition, or even the length of a term. One federal defender told me that if
         defense attorneys pay any attention to supervised release, they focus on the number
         and/or type of conditions imposed. However, in none of the hearings observed for
         this study did any defense attorney make any objection of this type.

  Id. at 209; see also Doherty, supra, at 1019 (“The Senate Report on the SRA assumed that judges

  would reserve supervised release for select offenders who presented the greatest risks of

  recidivism. Today, nearly every single person who is sentenced to federal prison also receives a

  term of supervised release.”).

         The average length of a supervised release terms has increased over time. The Pew

  Charitable Trusts, Number of Offenders on Federal Supervised Release Hits All-Time High (Jan.

  24, 2017). In 2015, the average term of supervised release was 47.1 months, up 12% from the

  average length of 42.1 months in 1995. Id. at 2.

         The combination of supervised release being imposed in nearly every case with

  increasingly long terms has greatly expanded the total supervised population. Id. The number of


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  federal supervisees has had a near three-fold increase in two-decade period between 1995 and

  2000—from 39,000 people to nearly 115,000. Id.

                 2. Negative Consequences

         The current reflexive use of longer than needed supervised release periods may increase

  the likelihood of recidivism. Scott-Hayward, supra, at 217.

         Not only is there no increase in recidivism rates when low-risk people are not
         supervised, requiring low-risk people to participate in the treatment and other
         programs common to post-prison supervision can actually increase the likelihood
         that they will reoffend. While it is not clear exactly why this occurs, possible
         reasons include the fact that supervising low-risk people and placing them in
         programs can disrupt their pro-social networks, as well as the fact the increased
         supervision and the associate conditions increase the likelihood of violations.

  Id. (emphasis added); see also Doherty, supra, at 1019 (noting that supervised release may brand

  supervisees as “belonging to a criminal class” which can undermine reintegration); The Pew

  Charitable Trusts, supra, at 3 (“[E]xtended periods of community supervision can have negative

  consequences for offenders and the public. One common result is that more offenders are sent to

  prison for violating the terms of their supervision (known as technical violations) than for new

  crimes. More than two-thirds of all federal offenders who are revoked from supervised release

  each year committed technical violations but were not convicted of new crimes.”).

         Evidence suggests that increasing the length of supervised release does not necessarily

  lower levels of recidivism. U.S. Sentencing Commission, Recidivism Among Federal Offenders:

  A Comprehensive Overview, at 15 (March 2016). The Sentencing Commission found that while

  the rearrest rate for offenders was 16.6% within the first year of being released, this rate dropped

  to 6.6% three years after release and 1.8% eight years after release. Id.

         For some, supervised release can be a trap where they bounce between supervision and

  prison. “Violations of [supervised release] frequently cause a return to prison, often with new


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  supervisory terms attached. This has created the ‘threat of never-ending supervision.’” Nora V.

  Demleitner, How to Change the Philosophy and Practice of Probation and Supervised Release:

  Data Analytics, Cost Control, Focus on Reentry, and a Clear Mission, 28 Fed. Sent’g Rep. 231,

  232 (2016). As a result, a form of indeterminate sentencing has been reintroduced into the

  federal system. See generally Fiona Doherty, Indeterminate Sentencing Returns: The Invention

  of Supervised Release, 88 N.Y.U. L. Rev. 958 (2013); supra Section III(B)

                 3. Proposals for Change

         There are short-term and long-term solutions to some of the problems presently posed by

  supervised release.

         First, judges could impose [supervised release] only in cases where warranted, which
         means when the offender needs supervision to assist with reintegration and to provide
         control. Second, they could limit the number of probation conditions by selecting only
         those discretionary conditions that are most appropriate to the individual offender. Thirdly,
         they could terminate [supervised release] early. These three sets of decisions would
         decrease the potential for violations while allowing the court and the probation team to
         focus on higher-risk individual offenders. Those persons should have individualized
         requirements imposed and supervision provided to help prevent recidivism and assist
         rehabilitation. Although initially more work for a judge, in the long run such thoughtful
         decisions may decrease the need for judicial intervention and sanctions.

  Demleitner, supra, at 233 (emphasis added). “Federal judges may need to begin to focus on

  questions of whether to impose [supervised release], for how long, and what discretionary

  conditions to attach. Decreases in length and conditions would likely result in a substantial

  decline in the number of revocations.” Id.

         It has been suggested that courts should tailor the conditions of supervised release for

  each defendant:

         Courts should make individualized determinations about what conditions should
         apply in each case. In evaluating the utility of any particular defendant, courts
         should distinguish between conditions that are aimed simply at establishing control
         over “criminals” and conditions that provide reintegrative services, such as job-
         training or mental health treatment. They should consider the regulatory and

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         administrative costs of any condition they impose and require proof that this
         condition will actually lead to some desired societal goal.

  Doherty, supra, at 1025. Conditions could be linked to incentives and sanctions, instead of the

  threat of incarceration, in an effort to encourage rehabilitative behavior. Id. at 1026. Judges

  have begun to call for such options. See supra Section III(B).

         Professor Scott-Hayward suggests that the end of a prison term would be a better time to

  impose a sentence of supervised release because judges would have greater insight into the

  defendant’s potential for rehabilitation. Scott-Hayward, supra, at 222. Judges would be able to

  more accurately make a prediction about the future risks a defendant poses and whether he or she

  should be subject to an extensive supervised release term. Id.; Cf. Siegel, 753 F.3d at 708

  (“Because conditions of supervised release, though imposed at sentencing, do not become

  operational until the defendant is released, the judge has to guess what conditions are likely to

  make sense when the defendant is released.”).

         A court’s ability to terminate supervision early, see supra Section III(D), or modify

  conditions, see supra Section III(C)(5), provides an option to reevaluate the efficacy of a

  supervised release term throughout its duration. It can be used to effectuate Professor Scott-

  Hayward’s proposal, determining whether continued supervision is appropriate with greater

  information than the court has ex ante at the sentencing hearing.

                 4. Probation Department Reforms

         The Probation Department has taken measures to mitigate over-supervision. Supervision

  is more intense in the early years and then tapers off, if this change is appropriate in the case. A

  “Low Intensity Unit” was created in this district to reduce burdens for some. See E.D.N.Y.

  Probation Department, Low Intensity Unit (LIU) Policy and Procedures.



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            One of the goals of this program is to permit supervision officers to focus their time
            and efforts on . . . cases in need of closer supervision, while relieving them of cases
            that require little supervision. . . . When the assessment indicates that . . . the
            offender is likely to remain crime free and to comply with all other conditions
            without further interventions by the officer, the case should be supervised under . .
            . low intensity standards. . . . Working smart means never supervising offenders
            more intrusively than required by their assessed risks and needs at any given time.

  Id. (Internal quotation marks omitted).

            Some supervisees, such as sex offenders, are ineligible for the program. Id. A supervisee

  must go six months without a positive drug test to qualify. Id. Whether this limit is a hard-and-

  fast rule for all cases is not clear.

            The Probation Department also recommends early termination in appropriate cases.

  Consistent with case law, see supra Section III(D), Probation Department policy states:

            It is a common misconception that early termination under §3583(e)(1) must be
            based on an offender’s significantly changed circumstances or extraordinarily good
            performance under supervision. The offender’s conduct while under supervision is
            only one of many factors that a district judge must consider . . . . [A] court must
            simply be satisfied that the termination is warranted and is in the interest of justice.
            . . . [O]fficers may recommend that a district court terminate a supervision term
            prior to its predicted expiration date.

  See Letter from Joe Gergits, Assistant General Counsel for the Administrative Office of

  the United States Courts to Ellie N. Hayase Asasaki, United States Probation (July 20,

  2009).

      IV.      Application of Law to Facts

            “The court may, after considering the factors set forth in section 3553(a)(1), (a)(2)(B),

  (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7) . . . terminate a term of supervised release

  and discharge the defendant released at any time after the expiration of one year of supervised

  release . . . if it is satisfied that such action is warranted by the conduct of the defendant released

  and the interest of justice.” 18 U.S.C. § 3583.


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         This provision is infrequently raised in applications by defense counsel or the Probation

  Department. Since the judge would not ordinarily examine the case on his or her own motion,

  unless a violation is charged, the provision is seldom used. Automatically raising the issue in all

  cases after one year should be considered. Such a plan would probably generally increase early

  terminations.

             A. 3553(a) Factors

         Trotter was an adolescent when he committed the crime that led to his term of

  imprisonment and supervision. He comes from a broken home. The hardships that he has faced,

  his long-term habitual marijuana use, and his urge to rehabilitate suggest avoiding a long period

  of supervision.

         Continued supervision will probably interfere with his rehabilitation. He may needlessly

  be placed in prison. Extended supervision is unlikely to have any deterrent effect on him

  personally or on the public generally. As he transitions from adolescence to adulthood, family

  and community support can help him.

             B. Conduct of Defendant and Interests of Justice

         Since his release from jail, Trotter has not committed any crimes, apart from his habitual

  marijuana use. Hr’g Tr. 3:3-21. He has been working. Id. At the hearing Trotter presented the

  court with his current resume and a flyer from a career fair he recently attended. See Ct. Ex. 1-2.

  With support of friends and family, he is likely to lead a productive, law-abiding life.

         Continued supervision is unlikely to help rehabilitate Trotter. His marijuana habit,

  developed at a young age, is unlikely to disappear except as time and mature responsibilities put

  pressure on him to stop. He has no desire to stop at this time. See Hr’g Tr. 9:2-4 (“Marijuana




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  usage may not be right, but . . . it’s keeping me calm and on the right path.”). This habit will

  lead to conflict between Trotter and his probation supervisor.

          If his supervision continues, he will probably end up in the almost endless cycle of

  supervised release and prison. Because the revocation statute requires jail time for drug use, see

  supra Section III(B), he is likely to be sent back to prison, to be followed by a term of supervised

  release, which, when violated, will again send him back to prison.

     V.      Conclusion

          Trotter’s term of supervised release is terminated forthwith pursuant to 18 U.S.C. §

  3583(e)(1). Continued supervision would not serve the rehabilitative goal of supervised release.




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